 8:18-cr-00243-BCB-SMB               Doc # 26   Filed: 09/19/18       Page 1 of 1 - Page ID # 58




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                        8:18CR243

         vs.
                                                                           ORDER
JERMAL L. BROWN,

                        Defendant.

         This matter is before the court on defendant's Unopposed Motion for Extension of Time in
Which to File Pretrial Motions [24]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 62-day extension. Pretrial motions shall be
filed by November 19, 2018.
         IT IS ORDERED:
         1.     Defendant's Unopposed Motion for Extension of Time in Which to File Pretrial
Motions [24] is granted. Pretrial motions shall be filed on or before November 19, 2018.
         2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and November 19, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         Dated this 19th day of September, 2018.

                                                       BY THE COURT:


                                                       s/ Susan M. Bazis
                                                       United States Magistrate Judge
